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               IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT
                       HOT SPRINGS DIVISION


FRENCH QUARTER PARTNERS, LLC,
Individually and d/b/a FRENCH QUARTER;
DALE KLOSS a/k/a DUKE KLOSS, Individually
and d/b/a FRENCH QUARTER                                         APPELLANTS

VS.                       Case No. 6:13-CV-6003 RTD


KRISTEN WHITWORTH, and TOMISHA
LEWIS, Individually and on behalf of others
similarly situated                                                APPELLEES


                             NOTICE OF APPEAL

      Notice is hereby given that FRENCH QUARTER PARTNERS, LLC,

Individually and d/b/a FRENCH QUARTER; DALE KLOSS a/k/a DUKE

KLOSS, Individually and d/b/a FRENCH QUARTER, defendants in the above

named case, appeal to the United States Court of Appeals for the Eighth Circuit from

the September 19, 2014 Judgment (Pacer Doc. 79).

      Dated: October 17, 2014.

                                       Respectfully submitted:
                                       French Quarter Partners, LLC, et al.,
                                       Appellants

                                 By:   /s/ Tim Cullen
                                       Tim Cullen, Ark. Bar No. 97032
                                       CULLEN & CO., PLLC
                                       P.O. Box 3255
                                       Little Rock, AR 72203
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                          CERTIFICATE OF SERVICE

I certify that the foregoing was served on all counsel of record by way of the Court’s
electronic noticing system this 17th day of October, 2014.

                                        /s/ Tim Cullen
